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                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION
BRIANNA BOE, et al.,                      )
                                          )
Plaintiffs,                               )
                                          )
v.                                        )      Case No. 2:22-cv-184-LCB
                                          )
STEVE MARSHALL, et al.,                   )
                                          )
Defendants.                               )

                                     ORDER

      For good cause shown, the Court GRANTS the following motions:

      (1)     Defendants’ Unopposed Motion for Leave to Substitute Summary

              Judgement Motion and Evidentiary Submissions on the Public Docket

              (Doc. 575);

      (2)     Plaintiff-Intervenor United States of America’s Unopposed Motion for

              Excess Pages (Doc. 586);

      (3)     Plaintiff-Intervenor United States of America’s Unopposed Motion for

              Leave to File Under Seal Unredacted Motion to Exclude and Brief and

              Evidentiary Submissions in Support (Doc. 587);

      (4)     Defendants’ Motion for Leave to File Under Seal Unredacted Motions

              to Exclude Expert Testimony and Evidentiary Submissions in Support

              (Doc. 588);
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 (5)   Plaintiff-Intervenor United States of America’s Motion for Extension

       of Time to Complete Filing Under Seal the Unredacted Motion to

       Exclude and Brief and Evidentiary Submissions in Support (Doc. 603);

       and

 (6)   Private Plaintiffs’ Unopposed Motion for Leave to File Under Seal

       Unredacted Motion to Exclude Certain Testimony (Doc. 610).

 DONE and ORDERED this June 26, 2024.



                             _________________________________
                             LILES C. BURKE
                             UNITED STATES DISTRICT JUDGE




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